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                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In re:
                                                        Case No.: 21-11750-PMM
  MIDNIGHT MADNESS DISTILLING
                                                        Chapter 7 case
           Debtor.
                                                  /


  BONNIE B. FINKEL, in her capacity as Chapter
  7 Trustee for Midnight Madness Distilling,

           Plaintiff,
                                                        Adv. Pro. No.: 23-00047-PMM
  v.

  CASEY PARZYCH; SHAWN SHEEHAN;
  ANGUS RITTENBURG, KELLY FESTA,
  ASHLEIGH BALDWIN; MICHAEL BOYER;
  R.F. CULBERTSON; GARY PARZYCH; RYAN
  USZESNKI; POLEBRIDGE LLC; GOOD
  DESIGN, INC.; AGTECH PA LLC; AGTECH VI,
  LLC; XO ENERGY WORLDWIDE LLLP; XO
  EW, LLC; CAN MAN LLC; BEST BEV, LLC;
  ETOH WORLDWIDE, LLC; CANVAS 340, LLC;
  FINLAND LEASING CO., INC.; and EUGENE T.
  PARZYCH, INC.

           Defendants.
                                                  /

                          ORDER FOR ADMISSION PRO HAC VICE

           AND NOW, it is hereby ORDERED that the motion to admit Robert K. Beste, Esq., to

 practice in this Court pursuant to Local Rule of Bankruptcy Procedure 2090-1(b)(3) is GRANTED.

                                                          By the Court:

Date: April 22, 2025
                                                          ______________________
                                                          Judge Patricia M. Mayer
